Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 1 of 38 PageID: 567




                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                VICINAGE OF TRENTON

 CHRISTINE CONFORTI, ARATI KREIBICH,              )
 MICO LUCIDE, JOSEPH MARCHICA, KEVIN
 MCMILLAN, ZINOVIA SPEZAKIS, and                  )   HON. FREDA L. WOLFSON, U.S.D.J.
 NEW JERSEY WORKING FAMILIES
 ALLIANCE, INC.,                                  )   Civil Action No. 20-8267 (FLW-TJB)

        Plaintiffs,                               )

                v.                                )             Civil Action

 CHRISTINE GIORDANO HANLON, in her                )
 Official capacity as Monmouth County
 Clerk, SCOTT M. COLABELLA, in his official       )        (Electronically Filed)
 capacity as Ocean County Clerk, PAULA
 SOLLAMI COVELLO, in her official capacity        )
 as Mercer County Clerk, JOHN S. HOGAN, in
 his Official capacity as Bergen County Clerk,    )
 EDWARD P. MCGETTIGAN, in his official
 capacity as Atlantic County Clerk, and E. JUNIOR )
  MALDONADO, in his official capacity as
 Hudson County Clerk,                             )

       Defendants.                         )
 ______________________________________________________________________________

      BRIEF IN SUPPORT OF MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
  COMPLAINT, PURSUANT TO FEDERAL RULES OF CIVIL PROCEDURE 12(b)(1) AND
  12(b)(6), ON BEHALF INTERVENOR, GURBIR S. GREWAL, ATTORNEY GENERAL OF
                                  NEW JERSEY
 ______________________________________________________________________________

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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 2 of 38 PageID: 568




                            TABLE OF CONTENTS
                                                                        Page

 PRELIMINARY STATEMENT……………………………………………..…...1

 PROCEDURAL HISTORY AND STATEMENT OF FACTS…………………..2

 STANDARD OF REVIEW………………..…………………………………..….7

 ARGUMENT……………………………………………………………………...8

       I.         PLAINTIFFS’ COMPLAINT MUST BE DISMISSED BECAUSE
                  IT DOES NOT PRESENT A JUSTICIABLE CASE OR
                  CONTROVERSY……………………………………………………8

             A.     PLAINTIFFS’ CLAIMS REGARDING THE 2020 PRIMARY
                    ELECTION ARE MOOT BECAUSE IT HAS BEEN HELD… 9

             B.     PLAINTIFFS’ CLAIMS CONCERNING THE 2021 ATLANTIC
                    COUNTY CLERK PRIMARY ELECTION, 2022 PRIMARY
                    ELECTION, OR OTHER FUTURE ELECTIONS ARE NOT YET
                    RIPE FOR REVIEW.…………….………………………………12

             C.     PLAINTIFF NEW JERSEY WORKING FAMILIES ALLIANCE
                    SHOULD BE DISMISSED FOR LACK OF STANDING...……15

       II.        PLAINTIFFS’ FIRST AMENDED COMPLAINT MUST BE
                  DISMISSED FOR FAILURE TO STATE A CLAIM..……….……19

             A.     NEW JERSEY’S BRACKETING STATUTES DO NOT
                    VIOLATE THE FIRST AND FOURTEENTH
                    AMENDMENTS.......….…...……………………………………20

             B.     NEW JERSEY’S BRACKETING STATUTES DO NOT
                    VIOLATE THE EQUAL PROTECTION
                    CLAUSE.………………………………………………………...29

             C.     THE BRACKETING STATUTES DO NOT ALTER THE
                    TIMES, PLACES OR MANNER OF CONGRESSIONAL
                    ELECTIONS……………………………………………………..30
                                       i
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 3 of 38 PageID: 569




 CONCLUSION………………………………………………………………...…32

                                      TABLE OF AUTHORITIES
                                                                                                            Page(s)

                                                      CASES
 Anderson v. Celebrezze,
   460 U.S. 780 (1983) ................................................................................22, 25, 31

 Anspach v. City of Philadelphia,
   503 F.3d 256 (3d Cir. 2007) ................................................................................. 8
 Ashcroft v. Iqbal,
    556 U.S. 662 (2009) .............................................................................................. 8
 Bi-Metallic Inv. Co. v. State Bd. of Equalization,
    239 U.S. 441 (1915) ............................................................................................ 18

 Blunt v. Lower Merion Sch. Dist.,
    767 F.3d 247 (3d Cir. 2014) .............................................................15, 16, 17, 18

 Bruni v. City of Pittsburgh,
    824 F.3d 353 (3d Cir. 2016) ............................................................................... 20

 Burdick v. Takushi,
   504 U.S. 428 (1992) ......................................................................................24, 25
 Clough v. Guzzi,
    416 F. Supp. 1057 (D. Mass. 1976) .................................................................... 28
 Coastal Outdoor Adver. Grp., LLC v. Township of Union,
   676 F. Supp. 337 (D.N.J. 2009) ........................................................................ 8, 9

 Doe v. Reed,
   561 U.S. 186 (2010) ............................................................................................ 25

 Donatelli v. Mitchell,
   2 F.3d 508 (3d Cir. 1993) .............................................................................25, 30



                                                           ii
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 4 of 38 PageID: 570




 Eu v. San Francisco Cty. Democratic Cent. Comm.,
    489 U.S. 214 (1989) ......................................................................................20, 23

 FEC v. Wis. Right to Life, Inc.,
   551 U.S. 449 (2007) ......................................................................................11, 12

 Food & Water Watch, Inc. v. Vilsack,
   808 F.3d 905 (D.C. Cir. 2015) ............................................................................ 16

 Free Speech Coal., Inc. v. Att’y Gen. of United States,
    825 F.3d 149 (3d Cir. 2016) ............................................................................... 12

 Gillen v. Sheil,
    416 A.2d 935 (N.J. Super. Ct. Law Div., 1980) ...........................................26, 27

 Gould Elecs., Inc. v. United States,
   220 F.3d 169 (3d Cir. 2000) ................................................................................. 7

 Graham v. Connor,
   490 U.S. 386 (1989) ............................................................................................ 19
 Harris v. Kellogg Brown & Root Servs.,
   724 F.3d 458 (3d Cir. 2013) ................................................................................. 7

 Lesniak v. Budzash,
    626 A.2d 1073 (1993) ......................................................................................... 26
 Lujan v. Defs. of Wildlife,
    504 U.S. 555 (1992) ............................................................................................ 16
 Mills v. Green,
    159 U.S. 651 (1895) ............................................................................................ 10
 N.A.A.C.P. v. City of Kyle, Tex.,
    626 F.3d 233 (5th Cir. 2010) .............................................................................. 17

 Nader v. Schaffer,
   417 F. Supp. 837 (D. Conn.), aff’d, 429 U.S. 989 (1976) .................................. 25

 Nat'l Taxpayers Union, Inc. v. United States,
   68 F.3d 1428 (D.C. Cir. 1995) ............................................................................ 17



                                                          iii
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 5 of 38 PageID: 571




 New Alliance Party v. New York State Bd. of Elections,
   861 F. Supp. 282 (S.D.N.Y. 1994) ..................................................................... 27

 New Jersey Conservative Party, Inc. v. Farmer,
   753 A.2d 192 (N.J. Super. Ct. Ch. Div. 1999) .............................................27, 28

 New Jersey Turnpike Auth. v. Jersey Cent. Power & Light,
   772 F.2d 25 (3d Cir. 1985) ................................................................................. 11

 Newark Cab Ass’n v. City of Newark,
   901 F.3d 146 (3d Cir. 2018) ............................................................................... 30

 Plains All Am. Pipeline L.P. v. Cook,
    866 F.3d 534 (3d Cir. 2017) .............................................................12, 13, 14, 15

 Porta v. Klagholz,
   19 F. Supp. 2d 290 (D.N.J. 1998) ......................................................................... 9

 Presbytery of the Orthodox Presbyterian Church v. Florio,
    902 F. Supp. 492 (D.N.J. 1995) ............................................................................ 8
 Schundler v. Donovan,
    872 A.2d 1092 (2005) ...................................................................................27, 28

 Smith v. Penta,
   405 A.2d 350 (N.J. 1979) ................................................................................... 25
 Smolow v. Hafer,
   353 F. Supp. 2d 561 (E.D. Pa. 2005) .................................................................... 7
 Step-Saver Data Systems, Inc. v. Wyse Technology,
    912 F.2d 643 (3d Cir. 1990) ............................................................................... 13
 Texas v. United States,
    523 U.S. 296 (1998) ............................................................................................ 15

 Timmons v. Twin Cities Area New Party,
    520 U.S. 351 (1997) ................................................................................21, 24, 31

 U.S. Parole Comm’n v. Geraghty,
    445 U.S. 388 (1980) ........................................................................................ 9, 10



                                                          iv
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 6 of 38 PageID: 572




 United States v. Antar,
   38 F.3d 1348 (3d Cir. 1994) ............................................................................... 10

 United States v. Marcavage,
   609 F.3d 264 (3d Cir. 2010) ............................................................................... 20

 Willis v. USP Canaan,
    635 Fed. Appx. 5 (3d Cir. 2015) ........................................................................... 7

                                                      STATUTES
 N.J. Stat. Ann. §19:23-17 and-25.1 ......................................................................... 32

 N.J. Stat. Ann. §19:23-18......................................................................................... 26

 N.J. Stat. Ann. §19:23-18, -25.1 ................................................................................ 3

 N.J. Stat. Ann. §19:23-18 and §19:49-2 .................................................................. 28
 N.J. Stat. Ann. §19:23-24...................................................................................2, 3, 7

 N.J. Stat. Ann. §19:49-2....................................................................................... 3, 26
 42 U.S.C. § 1983 ................................................................................................19, 20

                                                 CONSTITUTION
 U.S. Const., art. 1, sec. 4, cl. 1 ...........................................................................30, 31
 N.J. Const., Art. II, §2 .............................................................................................. 14

                                                         RULES
 Rule 12(b)(1) .............................................................................................................. 7
 Rule 12(b)(6) .............................................................................................................. 8




                                                               v
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 7 of 38 PageID: 573




                           PRELIMINARY STATEMENT

       Plaintiffs’ Complaint challenging the constitutionality of New Jersey’s laws

 governing the placement of candidate names on ballots for primary elections should

 be dismissed. Plaintiffs allege that New Jersey’s statutes allowing candidates for

 various offices to appear associated or “bracketed” together on the Primary Election

 ballot—along with a shared slogan—violates their rights as candidates to associate,

 or not to associate, the right to vote, the Equal Protection Clause, and the

 Constitution’s Elections Clause. Plaintiffs’ Complaint fails both for lack of subject

 matter jurisdiction and for failure to state a claim.

       There are two threshold reasons this Court lacks jurisdiction at this time. First,

 Plaintiffs’ challenge to the operations of the 2020 Primary Election is rendered moot

 by the fact that the Election—which took place just one day after the initial

 complaint was filed by Plaintiff Conforti—has come and gone for five of the six

 candidate Plaintiffs. Plaintiffs’ claims—including the sixth candidate Plaintiff

 challenging ballot positions that have not even been drawn for the June 8, 2021

 Primary Election—remains speculative and not yet ripe for review, because it is

 insufficiently certain whether Plaintiffs will run in the next election cycles, whether

 they will be opposed, and whether they will ultimately be affected by the statutes

 that govern ballot bracketing.
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 8 of 38 PageID: 574




        Even beyond these threshold issues, Plaintiffs’ First Amended Complaint fails

 to state a claim upon which relief can be granted because New Jersey’s bracketing

 statutes survive First and Fourteenth Amendment constitutional scrutiny on the

 merits, and do not violate the Elections Clause. Importantly, while Plaintiffs offer a

 number of policy arguments against bracketing and the laws that allow it, the

 question here is not whether it is good policy to allow bracketing. Instead, the only

 issue for this federal court to decide is whether allowing bracketing violates the

 federal Constitution. It does not. Accordingly, Plaintiffs’ First Amended Complaint

 should be dismissed with prejudice.

          PROCEDURAL HISTORY AND STATEMENT OF FACTS1

        The county clerks have sole jurisdiction over the primary election ballot

 design and candidate placement for primary election ballots. N.J. Stat. Ann. §19:23-

 24 (“The position which the candidates and bracketed groups of names of candidates

 for the primary for the general election shall have upon the ballots ... shall be

 determined by the county clerks in their respective counties.”). This includes the

 ballot placement of candidates for nomination for the office of U.S. House of

 Representatives, as well for candidates seeking the nomination for the office of

 county clerk, municipal office, and political party county committee seats.



 1
  As the Procedural History and Statement of Facts are inextricably intertwined, they have been
 presented together for the purpose of clarity and for the Court’s convenience.
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 9 of 38 PageID: 575




       Candidates for nomination to the same office may request that the county clerk

 group their names together and that their identified common designation or slogan

 be printed opposite their names. N.J. Stat. Ann. §19:23-18, -25.1. In order for a

 candidate to use the same designation or slogan as the candidates filing a joint

 petition, the campaign manager of the candidates filing the joint petition must

 consent in writing to the county clerk. N.J. Stat. Ann. §19:49-2. The term for

 candidates filing a joint petition, as well as other candidates sharing the same slogan

 with joint petition candidates, is “bracketed.” N.J. Stat. Ann. §19:23-24. Pursuant

 to N.J. Stat. Ann. §19:49-2, “bracketed” candidates shall have their names placed on

 the same line [or column] of the ballot by the county clerk. The county clerk

 randomly draws for the ballot position of candidates on the primary election ballot.

 N.J. Stat. Ann. §19:23-24. For the primary ballot, the bracketed candidates shall be

 drawn as a unit for ballot position. Id.

       Plaintiffs Christine Conforti, Arati Kreibich and Zinovia Spezakis sought the

 Democratic Party’s nomination for the office of U.S. House of Representatives in

 New Jersey’s Fourth, Fifth and Ninth Congressional District, respectively, in the

 July 7, 2020 Primary Election. First Am. Compl., ECF No. 33 ⁋⁋19, 24 and 44.

 Plaintiffs Joseph Marchica and Kevin McMillan were on the July 7, 2020

 Democratic Primary Election ballot for county committee in Hamilton Township in

 Mercer County and municipal committeeperson for Neptune Township Committee


                                            3
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 10 of 38 PageID: 576




  in Monmouth County, respectively. ECF No. 33 ¶¶33, 37. Plaintiff Mico Lucide

  has filed paperwork to become a candidate for nomination for Atlantic County Clerk

  in the June 8, 2021 Democratic Primary Election. ECF No. 33 ¶28. Finally, Plaintiff

  New Jersey Working Families Alliance, Inc. (“NJWF”) alleges to have endorsed

  unspecified unbracketed candidates in the July 7, 2020 Primary Election, ECF No.

  33 ¶167.

         In the July 7, 2020 Democratic Primary Election, Plaintiff Conforti, a

  candidate for the U.S. House of Representatives in the Fourth Congressional District,

  chose to be bracketed with other candidates for local, state, and national office,

  including Joseph R. Biden and Cory Booker, in ballots distributed in Mercer

  County.2 ECF No. 33 ¶114-15. According to the Complaint, Plaintiff Conforti

  appeared on a Monmouth County ballot twice for different positions: the House of

  Representatives and County Committee. ECF No. 33 ¶144. She was bracketed with

  other candidates for local, state, and national office for the County Committee

  position.   She was not bracketed with any other candidate for the House of

  Representatives position. ECF No. 33 ¶144. Plaintiff Conforti was not bracketed

  with candidates for any other office on the Ocean County Democratic Primary

  Election ballots. ECF No. 33 ¶110


  2
    The Mercer County ballot also placed one of Conforti’s opponents, Stephanie Schmid, in the
  same column as Conforti and other candidates with whom Conforti bracketed. However, Schmid
  did not have the same slogan as the bracketed candidates. ECF No. 33 ¶¶114-15.
                                               4
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 11 of 38 PageID: 577




        Plaintiff Conforti filed the initial complaint in this matter on July 6, 2020, ECF

  No. 1, one day before the July 7, 2020 Primary Election in New Jersey. Plaintiff

  Conforti did not receive the nomination of the Democratic Party for U.S. House of

  Representatives. ECF No. 33 ⁋20. Plaintiff Conforti asserts that she “intends to run

  for office again as a Democrat,” but did not specify what office and at what time.

  ECF No. 33 ⁋23. Thereafter, Plaintiff Conforti was joined by the other Plaintiffs in

  filing the First Amended Complaint on January 25, 2021. ECF No. 33.

        Plaintiff Kreibich’s name appeared on the Bergen County ballot for the Fifth

  Congressional District on the row or column designated for “Member of the House

  Representatives” with all other candidates for the Fifth Congressional District in the

  July 7, 2020 Democratic Primary Election. ECF No. 33 ⁋⁋120. On that ballot, she

  was bracketed with two other candidates for county freeholder. ECF No. 33 ¶¶120,

  123. For the Passaic, Sussex and Warren County ballots in the July 7, 2020

  Democratic Primary Election for the Fifth Congressional District, candidates were

  not bracketed and did not appear on a specific row or column. ECF No. 33 ¶125.

  Plaintiff Kreibich does not allege she has any intention to run for any office in the

  future.

        Plaintiff Spezakis was bracketed with candidates on the Bergen and Hudson

  County Primary Election ballot, appearing on the second column on the Bergen

  County ballot and the first column on the Hudson County ballot. ECF No. 33 ¶¶154


                                            5
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 12 of 38 PageID: 578




  and 161 respectively. Plaintiff Spezakis’ name appeared on the ballot for the Ninth

  Congressional District on the row designated for “Member of the House

  Representatives” as all other candidates for the Ninth Congressional District in the

  July 7, 2020 Democratic Primary Election. Id. Plaintiff Spezakis alleges she plans

  to again seek the Democratic Party nomination for the Ninth Congressional District

  in the 2022 Primary.

        Plaintiff Marchica ran for Hamilton Township Democratic County Committee

  in the July 7, 2020 primary. His name appeared in the second column, along with

  other candidates for other positions who had different slogans and who did not

  bracket with each other. ECF No. 33 ¶¶134-137. Plaintiff Marchica’s name

  appeared on the ballot for County Committee on one of the two rows designated for

  “County Committee.” ECF No. 33 ¶134. He alleges that he plans to seek elected

  office again in the 2022 Democratic Primary.

        Plaintiff McMillan ran for Neptune Township Committee in the July 7, 2020

  Democratic Primary Election.       Plaintiff McMillan was bracketed with two

  candidates for County Committee on the Monmouth County Democratic Primary

  Election ballot. ECF No. 33 ¶¶144 and 149. Plaintiff McMillan’s name appeared

  on the ballot in the row designated for “Member of the Township Committee” in

  Neptune Township’s First Election District in the same row as all other candidates

  for Neptune Township Committee in the July 7, 2020 Democratic Primary Election.


                                           6
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 13 of 38 PageID: 579




  ECF No. 33 ¶144. McMillan does not allege specific plans to run for elected office

  again, only that he “is contemplating” it. ECF No. 33 ¶42.

         Plaintiff Lucide alleges that he has filed paperwork to be a candidate for the

  nomination for Atlantic County Clerk in the June 8, 2021 Democratic Primary

  Election. ECF No. 33 ¶131. “He does not want to bracket with any other candidates

  running for any other offices.” Id. The filing deadline for candidate petitions to

  appear on the ballot for the June 8, 2021 Democratic Primary is April 5, 2021. N.J.

  Stat. Ann. §19:23-24.

         This motion to dismiss the First Amended Complaint follows.

                                STANDARD OF REVIEW

         On a motion to dismiss under Rule 12(b)(1), a District Court must distinguish

  between facial and factual challenges to its subject matter jurisdiction. See Willis v.

  USP Canaan, 635 Fed. Appx. 5, 8 (3d Cir. 2015); Harris v. Kellogg Brown & Root

  Servs., 724 F.3d 458, 464 (3d Cir. 2013). “In a facial attack a Defendant argues that

  the Plaintiff did not properly plead jurisdiction . . . [whereas] a ‘factual attack’ asserts

  that jurisdiction is lacking on the basis of facts outside of the pleadings.” Smolow v.

  Hafer, 353 F. Supp. 2d 561, 566 (E.D. Pa. 2005). The court should “consider the

  allegations of the complaint and documents referenced therein and attached thereto,

  in the light most favorable to the Plaintiff.” Gould Elecs., Inc. v. United States, 220




                                               7
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 14 of 38 PageID: 580




  F.3d 169, 176 (3d Cir. 2000) (citations omitted). Here, Plaintiffs bear the burden to

  prove jurisdiction.

        Under Rule 12(b)(6), a reviewing court must accept the plaintiff’s factual

  allegations as true.    However, the plaintiff’s conclusory allegations and legal

  conclusions are not entitled to the same assumption of truth. Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009); see also Anspach v. City of Philadelphia, 503 F.3d 256, 260

  (3d Cir. 2007) (quoting Morse v. Lower Merion School Dist., 132 F.3d 902, 906 (3d

  Cir. 1997) (conclusory allegations or legal conclusions masquerading as factual

  allegations will not suffice to prevent dismissal).

                                      ARGUMENT

        I.     PLAINTIFFS’ COMPLAINT MUST BE DISMISSED
               BECAUSE IT DOES NOT PRESENT A JUSTICIABLE
               CASE OR CONTROVERSY

        Plaintiffs’ First Amended Complaint should be dismissed because there is no

  case or controversy for this court to review. “Federal courts possess the power to

  resolve only actual ‘cases’ or ‘controversies’.”         Presbytery of the Orthodox

  Presbyterian Church v. Florio, 902 F. Supp. 492, 503 (D.N.J. 1995) (citing U.S.

  Const., art. III, sec. 2). Courts are entitled to “enforce the case-or-controversy

  requirement through the several justiciability doctrines that cluster about Article III.”

  Coastal Outdoor Adver. Grp., LLC v. Township of Union, 676 F. Supp. 337, 344

  (D.N.J. 2009). “The justiciability doctrines include ‘standing, ripeness, mootness .


                                             8
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 15 of 38 PageID: 581




  . . and the prohibition on advisory opinions.’” Id. (quoting Toll Brothers, Inc. v.

  Township of Readington, 555 F.3d 131, 137 (3d Cir. 2009)). Plaintiffs’ claims are

  either moot, unripe, or lack requisite injury-in-fact. They should thus be dismissed

  in their entirety.

                A. Plaintiffs’ Claims Regarding the 2020 Primary Election
                   Are Moot Because It has Been Held.

         “Although a person may have standing, the court may be prevented from

  exercising jurisdiction if the matter is moot.” Porta v. Klagholz, 19 F. Supp. 2d 290,

  296 (D.N.J. 1998). “Courts may not render opinions in moot cases, because to do

  so would be to issue an advisory opinion.” Id. “[M]ootness has two aspects: when

  the issues presented are no longer live or the parties lack a legally cognizable interest

  in the outcome.” U.S. Parole Comm’n v. Geraghty, 445 U.S. 388, 396 (1980). To

  fulfill the latter requirement, “federal courts [must be] presented with disputes they

  are capable of resolving.” Id. “The requisite personal interest that must exist at the

  commencement of the litigation (standing) must continue throughout its existence

  (mootness).” Id. (internal citations omitted).

         In this case, Plaintiffs ask the court to issue declaratory and injunctive relief

  regarding something that has taken place in the past—the classic definition of a moot

  issue. Here, five of the six individual Plaintiffs’ claims are rendered moot by the

  fact that the 2020 Primary Election has already occurred. In that election, Plaintiffs

  Conforti, Kreibich, Spezakis, Marchica, and McMillan all appeared already on the
                                             9
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 16 of 38 PageID: 582




  Democratic Primary Election ballot on the same line or column as other candidates

  seeking nomination in the July 7, 2020 Primary Election. ECF No. 3 at ⁋⁋103, 109,

  114, 120, 134, 144, 154 and 161. To now consider Plaintiffs’ claims regarding that

  election, the court would in effect be rendering an advisory opinion. As the Supreme

  Court explained in Mills v. Green, 159 U.S. 651, 653 (1895), a case in which

  plaintiffs sought injunctive relief against officials administering voter registration, if

  “an event occurs which renders it impossible for this court, if it should decide the

  case in favor of the plaintiff, to grant him any effectual relief whatever, the court

  will not proceed to a formal judgment but will dismiss the appeal.” In that case and

  this one, that event is the election that already took place. The Court held it must

  dismiss the case on jurisdiction grounds, because courts may not “give opinions

  upon moot questions or abstract propositions, or to declare principles or rules of law

  which cannot affect the matter in issue in the case before it.” Id. at 653.

        To the extent that Plaintiffs claims that they will, or are considering to be

  candidates in future elections, ECF No. 33 ⁋⁋23, 32, 36, 42 and 47, those allegations

  falls short of the standard to meet the exception for mootness. A case is not moot

  where the dispute between the parties is “capable of repetition, yet evading review.”

  Geraghty, 445 U.S. at 398; see also United States v. Antar, 38 F.3d 1348, 1356 (3d

  Cir. 1994). But “‘[c]apable of repetition’ is not a synonym for ‘mere speculation;’

  it is a substantive term on which the moving party must provide reasonable quantity


                                             10
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 17 of 38 PageID: 583




  of proof – perhaps even by the preponderance of evidence.” New Jersey Turnpike

  Auth. v. Jersey Cent. Power & Light, 772 F.2d 25, 33 (3d Cir. 1985). Plaintiffs must

  demonstrate there is a “‘reasonable expectation’ or a ‘demonstrated probability’ that

  ‘the same controversy will recur involving the same complaining party.’” FEC v.

  Wis. Right to Life, Inc., 551 U.S. 449, 463 (2007) (quoting Murphy v. Hunt, 455 U.S.

  478, 482 (1982)). Merely repeating the required language to demonstrate a lack of

  mootness is no proof in itself.

        First, as to Plaintiffs Kreibich and McMillan, the First Amended Complaint

  contains no allegation that they intend to ever run for office again. There is thus no

  basis to believe their personal stake in this dispute is “capable of repetition.” Second,

  as to Plaintiffs Conforti, Marchica, and Spezakis, the mere statement that they intend

  to run in the future do not meet the required showing. The mere act of running for

  office is not the triggering event for the application of the bracketing statutes, nor

  injury to the Plaintiff. In order for these Plaintiffs to have a claim based on

  bracketing in the 2021 or 2022 Democratic Primary Election (or, in Plaintiff

  Conforti’s case, an unknown Democratic primary sometime in the future), numerous

  facts yet unknown would have to take place. First, Plaintiffs must meet the

  qualifications to appear on those ballots. Second, Plaintiffs must run in contested

  races. Third, other candidates in Plaintiffs’ races—whose identities and political

  leanings are currently unknown—must successfully filed a joint petition and sought


                                             11
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 18 of 38 PageID: 584




  to bracket with other candidates. Fourth, Plaintiffs must choose not to join the

  county joint petition bracket. The exercise of this associative right by Plaintiffs or

  other, unknown, candidates in 2021, 2022 or thereafter is speculative. This falls far

  short of meeting the standard to be excepted from the mootness doctrine. See FEC

  v. Wis. Right to Life, 551 U.S. at 463 (holding the matter was capable for repetition

  when the defendant “credibly claimed that it planned on running ‘materially similar’

  future targeted broadcast ads”) (emphasis added).

        Accordingly, Plaintiffs’ claim should be dismissed as moot.

               B. Plaintiffs’ Claims Concerning the 2021 Atlantic County
                  Clerk Primary Election, 2022 Primary Election, or Other
                  Future Elections Are Not Yet Ripe for Review.

        Plaintiffs also challenge the law based on the role it will play in the 2021

  Atlantic County Clerk Primary Election and the 2022 Democratic Primary Election.

  However, such arguments fare no better because they are not ripe for review.

        “[W]hether Plaintiffs have standing or their claims are ripe ... both turn on

  whether the threat of future harm ... is sufficiently immediate to constitute a

  cognizable injury.” Free Speech Coal., Inc. v. Att’y Gen. of United States, 825 F.3d

  149, 167 n.15 (3d Cir. 2016). “[R]ipeness works ‘to determine whether a party has

  brought an action prematurely ... and counsels abstention until such a time as a

  dispute is sufficiently concrete to satisfy the constitutional and prudential

  requirements of the doctrine.’” Plains All Am. Pipeline L.P. v. Cook, 866 F.3d 534,


                                           12
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 19 of 38 PageID: 585




  539 (3d Cir. 2017). In other words, courts must ensure that “the facts of the case are

  sufficiently developed, and whether a party is genuinely aggrieved” before

  exercising jurisdiction. Id. (internal quotation marks omitted).

        As Plaintiffs seek declaratory relief and injunctive relief, the Third Circuit

  utilizes a three-part test to determine whether a matter is ripe for judicial review first

  articulated in Step-Saver Data Systems, Inc. v. Wyse Technology, 912 F.2d 643 (3d

  Cir. 1990). “Under the Step-Saver test, we look to ‘(1) the adversity of the parties’

  interests, (2) the conclusiveness of the judgment, and (3) the utility of the

  judgment.’” Plains All Am. Pipeline, 866 F.3d at 540 (quoting Khodara Envtl., Inc.

  v. Blakely, 376 F.3d 187, 196 (3d Cir. 2004)).

        As to the first factor in the Step-Saver test, Plaintiffs must show that “harm

  will result if the declaratory judgment is not entered.” Id. at 541. “[W]hen ‘the

  plaintiff’s action is based on a contingency, it is unlikely that the parties’ interests

  will be sufficiently adverse to give rise to a case or controversy within the meaning

  of Article III.’” Id. Here, Plaintiffs’ allegations as to future elections are based on

  a series of contingencies. The first is whether they will even run for office again, as

  they have only stated that they “intend” to seek the nomination of their party to run

  for office in 2021 or 2022 or at an undefined time. Moreover, Plaintiffs’ alleged

  harm is also entirely contingent on whether Plaintiffs will meet the qualifications to

  appear on the ballot in those future races, whether those races will be contested,


                                             13
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 20 of 38 PageID: 586




  whether Plaintiffs ultimately decide to seek to join with other, yet unknown

  candidates in a joint petition, and whether any joint petition is filed by other

  candidates that would permit bracketing in the ballots on which Plaintiffs may

  appear. This speculation is compounded for races in 2022 and thereafter, given the

  unknown redistricted boundaries of the 2022 Congressional Districts and other State

  election district boundaries, (see N.J. Const., Art. II, §2), which could very well

  impact who will be candidates in 2022 and whether Plaintiffs will want to petition

  to bracket with those candidates. If any of those contingent events do not come true,

  there is no case or controversy for the court to review. Because Plaintiffs’ Complaint

  is based entirely on events that may never occur in 2021, 2022 or any election

  thereafter, the court lacks jurisdiction to adjudicate its unripe claims.

        As to the second factor, the court should consider whether the cause of action

  is based on a “real and substantive controversy admitting of specific relief through

  a decree of a conclusive character, as distinguished from an opinion advising what

  the law would be on a hypothetical set of facts.” Plains All Am. Pipeline, 866 F.3d

  at 542-43 (citations omitted). In doing so, courts examine whether “‘the legal status

  of the parties’” will change or be clarified by an opinion, as well as “‘whether further

  factual development . . . would facilitate decision or ‘the question presented is

  predominantly legal.’” Id. (citations omitted). As discussed above, the legal status

  of the parties in the controversy is entirely dependent on the contingencies discussed


                                             14
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 21 of 38 PageID: 587




  above. A court ruling today about the yet undrawn ballots listing yet unknown

  candidates for an election in the future is necessarily advisory. Further development

  of facts is necessary before a “real and substantive controversy” as to those elections

  has occurred.

        As to the final prong, courts look to “whether the parties’ plans of actions are

  likely to be affected by a declaratory judgment . . . and considers the hardship to the

  parties of withholding judgment.”       Plains All Am. Pipeline, 866 F.3d at 543.

  Plaintiffs’ broad speculation about the candidates that may run in the 2021 or 2022

  Primary Elections, such that bracketing will occur to their detriment, is insufficient

  to show that the candidates’ plan of action in 2021 or over one year from now in

  2022 and beyond, will be affected by a declaratory judgment in this matter. With

  such speculative contingencies, Plaintiffs cannot justify this court’s review of an

  unripe matter. Texas v. United States, 523 U.S. 296, 300 (1998).

        C.     Plaintiff New Jersey Working Families Alliance Should Be
               Dismissed for Lack of Standing.

        Plaintiff NJWF lacks standing to bring a claim in the instant matter. NJWF is

  “a non-profit, 501(c)(4) grassroots independent organization.” ECF No. 33 ⁋48. An

  organization may have standing to bring a claim where 1) the organization itself has

  suffered an injury to the rights and/or immunities it enjoys; or 2) where it is asserting

  claims on behalf of its members and those individual members have standing to

  bring those claims themselves. Blunt v. Lower Merion Sch. Dist., 767 F.3d 247, 279
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 22 of 38 PageID: 588




  (3d Cir. 2014). Where an organization asserts standing to sue on its own behalf, “a

  mere ‘interest in a problem,’ no matter how longstanding the interest and no matter

  how qualified the organization is in evaluating the problem, is not sufficient by itself

  to render the organization ‘adversely affected’ or ‘aggrieved.’” Id. (quoting Sierra

  Club v. Morton, 405 U.S. 727, 739 (1972)). Plaintiff NJWF cannot show an injury-

  in-fact as to any particularized interest that was impacted by the challenged

  bracketing statute, as it is neither a candidate nor a voter who suffered any

  abridgement of constitutional rights. Its only allegation as to its own affected

  interest is that it has to expend resources “to educate voters about the county line and

  other ballot design and ballot placement issues.” ECF No. 33 ¶55. But this is

  precisely the kind of generalized “interest in the problem” that does not suffice for

  organizational standing. That NJWF’s voter education includes ballot education

  does not mean anything it disagrees with on the ballot is “an invasion of a legally

  protected interest,” Lujan v. Defs. of Wildlife, 504 U.S. 555, 560 (1992). “[A]n

  organization does not suffer an injury in fact where it expends resources to educate

  its members and others unless doing so subjects the organization to operational costs

  beyond those normally expended.” Food & Water Watch, Inc. v. Vilsack, 808 F.3d

  905, 919–20 (D.C. Cir. 2015) (internal quotation marks and alterations

  omitted). Here, NJWF acknowledges it already “devotes substantial time, effort,

  and resources to educating voters about primary election ballots” by “hiring


                                            16
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 23 of 38 PageID: 589




  contractors to conduct … voter education.” ECF No. 33 ¶54. It does not allege that

  it would no longer do so, or that it would cost less to do so, if each county’s ballot

  were to look different. ECF No. 33 ¶54. NJWF “cannot convert its ordinary

  program costs into an injury in fact[.]” Nat'l Taxpayers Union, Inc. v. United States,

  68 F.3d 1428, 1434 (D.C. Cir. 1995). In short, NJWF’s allegation that “its resources

  could have been spent on other unspecified . . .activities” is not sufficiently to confer

  organizational standing. N.A.A.C.P. v. City of Kyle, Tex., 626 F.3d 233, 239 (5th

  Cir. 2010). It has “not demonstrated that the diversion of resources here concretely

  and ‘perceptibly impaired’ [its] ability to carry out its purpose.” Id. (internal citations

  omitted).

        Moreover, NJWF does not have standing to sue on behalf of its members.

  Where an organization is asserting that it has standing on behalf of its membership,

  it is asserting that it has “representational standing,” which requires the organization

  to meet three criteria: “(1) the organization’s members must have standing to sue on

  their own; (2) the interests the organization seeks to protect are germane to its

  purpose, and (3) neither the claim asserted nor the relief requested requires

  individual participation by its members.” Blunt, 767 F.3d at 279 (citations omitted).

  The Third Circuit in Blunt notes that “the plaintiff organization must ‘make specific

  allegations establishing that at least one identified member had suffered or would

  suffer harm.” Id. (quoting Summers v. Earth Island Inst., 555 U.S. 488, 498 (2009)).


                                              17
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 24 of 38 PageID: 590




  Plaintiff NJWF cannot assert standing as to its members because it fails to identify

  “at least one” member who has suffered or will suffer harm, and further, has no

  particularized injury-in-fact.   Plaintiff NJWF asserts it “endorsed numerous

  candidates in connection with the July 7, 2020 Primary Election” and “intends to

  endorse candidates, and has already begun making endorsements, in connection with

  the June 8, 2021 Primary Election,” but this is not sufficient to confer standing. ECF

  No. 33 ¶¶52-53. Importantly, NJWF does not allege any “identified member”—

  any candidate or voter who is a member of NJWF—for whom it asserts suffered or

  will suffer from any alleged harm from the challenged bracketing statutes. Blunt,

  767 F.3d at 279. In any event, any claim of harm would have the same mootness

  and ripeness problems as described above.

        While Plaintiff NJWF may disagree with the bracketing statutes, the Supreme

  Court has been clear that “[t]here must be a limit to individual argument in such

  matters if government is to go on.” Bi-Metallic Inv. Co. v. State Bd. of Equalization,

  239 U.S. 441, 445 (1915). The rights of all Plaintiffs, including NJWF, “are

  protected . . . by their power [to vote]” but they do not have standing to seek redress

  in court. Id. Plaintiff NJWF fails to meet the requirements for standing to bring suit

  and should be dismissed from the action with prejudice. Accordingly, this court

  should dismiss Plaintiffs’ First Amended Complaint.




                                            18
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 25 of 38 PageID: 591




        II.    PLAINTIFFS’ FIRST AMENDED COMPLAINT MUST
               BE DISMISSED FOR FAILURE TO STATE A CLAIM.

        Even if the Court were to consider Plaintiffs’ constitutional challenges to the

  bracketing statutes, they should be dismissed for failure to state a claim. In Counts

  I to IV of their First Amended Complaint, Plaintiffs allege New Jersey’s bracketing

  statutes violate the First and Fourteenth Amendments’ right to vote, right to the

  freedom of association, or not to associate, and the right to equal protection. ECF

  No. 33 ⁋⁋171, 184, 196 and 204. They also allege that the state’s bracketing statutes

  exceed the state’s authority under the Elections Clause of the Constitution. ECF No.

  33 ¶¶218-221. These claims follow the common premise that Plaintiffs interest in

  not associating with any other candidates should be elevated above all other

  interests, including the interest of the state in ensuring that candidate associations

  are made clear to voters who seek that information and that ballots are organized in

  a cognizable manner. Because that is wrong and contrary to the Constitution and

  Supreme Court precedents, Plaintiffs’ claims must be dismissed.

        Further, to the extent that Plaintiffs seek to assert an independent 42 U.S.C.

  § 1983 cause of action premised on the alleged deprivations of rights set forth in

  Counts I through I-IV of the First Amended Complaint, (see ECF No. 33 ⁋⁋ 224 and

  225), that claim is subsumed within Counts I-IV. Section 1983 is not itself a source

  of substantive rights. Graham v. Connor, 490 U.S. 386, 393-94 (1989). Rather, it

  is “a method for vindicating federal rights elsewhere conferred.” Id. (quoting Baker
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 26 of 38 PageID: 592




  v. McCollan, 443 U.S. 137, 144 n. 3 (1979)). Section 1983 provides the cause of

  action for Plaintiffs to assert a deprivation of constitutional rights under color of law.

  Thus, Plaintiffs’ independent Section 1983 cause of action premised on those

  constitutional violations asserts in Counts I-IV is redundant and should be dismissed.

                 A. New Jersey’s Bracketing Statutes Do Not Violate
                    the First and Fourteenth Amendments.

         Plaintiffs’ claims as to violations of the right to associate or right to vote

  should be rejected because the challenged bracketing statutes do not burden those

  rights. Alternatively, any burden is outweighed by the State’s legitimate interests. 3

         The Supreme Court has enunciated a test for when election laws are

  challenged on First Amendment grounds. First, courts “examine whether [the

  challenged law] burdens rights protected by the First and Fourteenth Amendments.”

  Eu v. San Francisco Cty. Democratic Cent. Comm., 489 U.S. 214, 222 (1989). If it

  does, then courts must “weigh the character and magnitude of the burden the State



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    Plaintiffs contend that New Jersey’s bracketing statutes are facially invalid. “A facial challenge
  ‘seeks to vindicate not only [Plaintiffs’] own rights, but those of others who may also be adversely
  impacted by the statute in question.’” Bruni v. City of Pittsburgh, 824 F.3d 353, 362 (3d Cir. 2016)
  (quoting CMR D.N. Corp. v. City of Philadelphia, 703 F.3d 612, 623 (3d Cir. 2013)). In order to
  prevail on a facial challenge, Plaintiffs must establish “that no set of circumstances exists under
  which [the laws] would be valid, or that the [laws] lack[] any plainly legislative sweep.” Id.
  (quoting United States v. Stevens, 559 U.S. 460, 472 (2010)). Plaintiffs cannot clear that high bar.
  The as-applied claim fares no better. An as-applied challenge “does not contend that a law is
  unconstitutional as written but that its application to a particular person under particular
  circumstances deprived that person of a constitutional right.” United States v. Marcavage, 609
  F.3d 264, 273 (3d Cir. 2010). Plaintiffs’ as-applied challenge to the bracketing statutes fails
  because Plaintiffs do not plead sufficient facts to show that the application of the bracketing
  statutes to Plaintiffs deprived them of the rights they describe any more than anyone else.
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 27 of 38 PageID: 593




  rule imposes on [First Amendment] rights against the interests the State contends

  justify that burden, and consider the extent to which the State’s concerns make the

  burden necessary.” Timmons v. Twin Cities Area New Party, 520 U.S. 351, 357-58

  (1997) (citing Burdick v. Takushi, 504 U.S. 428, 434 (1992)) (internal quotation

  marks omitted). Simply put, the degree of scrutiny to which a law is subject depends

  on the burdens it imposes on candidates and on voters. In short, any “[r]egulations

  imposing severe burdens on plaintiffs’ rights must be narrowly tailored and advance

  a compelling state interest.” Id. But “lesser burdens ... trigger less exacting review,

  and a State’s important regulatory interests will usually be enough to justify

  reasonable, nondiscriminatory restrictions.” Id. (quotation marks omitted).

         First, Plaintiffs fail to allege a burden on the right to vote because the

  bracketing law does not restrict voters’ ability to vote for the candidate of their

  choice. Each of the five Plaintiffs who sought their party’s nomination in the June

  7, 2020 primary were on the ballot and received votes.4 Voters could see what

  positions Plaintiffs were running for, and who Plaintiffs chose to associate or not

  associate with by virtue of the shared slogans. No voter “dilution” has occurred

  since each voter was able to vote for the candidate of their choosing. There is neither

  exclusion of “certain classes of candidates from the electoral process,” nor exclusion


  4
   If Plaintiff Lucida meets the qualifications for placement on the ballot in the June 2021
  Democratic Primary Election, the same will be true for him.

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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 28 of 38 PageID: 594




  of voters’ ability to cast votes for those candidates. Anderson v. Celebrezze, 460

  U.S. 780, 793 (1983).

         Second, Plaintiffs fail to allege a violation of their freedom of association

  rights. In fact, four of the Plaintiffs who ran in the June 7, 2020 primary willingly

  chose to bracket with at least some other candidates and in doing so, exercised their

  freedom to associate with some candidates and not with others. For example,

  Conforti, who ran for the Fourth Congressional District, chose to bracket with other

  candidates for various positions in the Mercer County ballot, allowing her name to

  be placed on what Plaintiffs call the “county line.” ECF No. 33 ¶¶7, 114, 115.5 She

  also chose to bracket with other “county line” candidates in her race for County

  Committee on a Monmouth County ballot. ECF No. 33 ¶144. Kreibich, who ran

  for the Tenth Congressional District, chose to be bracketed with two candidates for

  other offices in the Bergen County ballot. ECF No. 33 ¶120. Spezakis, who ran for

  the Ninth Congressional District, bracketed with a U.S. Senate candidate (and at

  least some local race candidates, such as two candidates for Freeholder in Tenafly).

  ECF No. 33 ¶154. In fact, on the Hudson County ballot, she and the Senate candidate



  5
    Plaintiff Conforti alleges she “was required to bracket with candidates she did not wish to
  associate with in order to protect her ballot position,” ECF No. 33 ¶¶ 115, 201, referring to the fact
  that a different candidate for the same position was listed in the same column as her. However,
  the placement of that candidate in the same column is not an operation of the New Jersey
  bracketing statutes; Plaintiff Conforti’s complaint is thus really to how a particular county clerk
  designed a particular ballot, not to the New Jersey law of statewide operation. That candidate did
  not have the same slogan as Plaintiff Conforti and other candidates in the “county line.” Id.
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 29 of 38 PageID: 595




  with whom she bracketed were listed first. ECF No. 33 161. And McMillan, who

  ran for Neptune Township Committee, bracketed with two other candidates for

  Monmouth County Committee. ECF No. 33 ¶144. While Plaintiffs allege that they

  did not want to associate with certain candidates but believed that doing so

  advantaged their position on the ballot, this choice is not one that arises to

  constitutional injury. After all, every association or non-association can carry with

  it perceived benefits and harms.

        More importantly, what Plaintiffs propose is not vindication of their own

  freedom of association, but court-ordered limits on the ability of other candidates to

  associate with each other. Some of those candidates are listed first on the ballot by

  virtue of the office they seek—statewide offices for U.S. Senate or Governor. But a

  wish that candidates for other offices do not associate with other candidates is not a

  cognizable First Amendment claim. Candidates have the right to associate with each

  other and the corresponding the right not to associate with any other candidates. Eu,

  489 U.S. at 224; ECF No. 33 ¶196 (“The right of association includes the

  corresponding right not to associate.”).

        Even if New Jersey’s bracketing laws did constitute a burden on Plaintiffs’

  First Amendment right to associate or right to vote in some way, any burden imposed

  is not a severe one, meaning that they trigger a less exacting form of review. As

  discussed above, “when a state election law provision imposes only ‘reasonable,


                                             23
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 30 of 38 PageID: 596




  nondiscriminatory restrictions’ upon the First and Fourteenth Amendment rights of

  voters, ‘the State’s important regulatory interests are generally sufficient to justify’

  the restrictions.” Burdick, 504 U.S. at 434 (citing Anderson, 460 U.S. at 788). Since

  the bracketing law applies with equal force to every candidate, since all candidates

  can choose to petition to bracket with other candidates, since the ballot accurately

  reflects who each candidate has chosen to associate with (or not associate with), and

  since voters can vote for any candidate of their choosing regardless of whether the

  candidate’s name is bracketed with others, any burden on associational or voting

  rights are not severe. A comparison to the Supreme Court’s ruling in Timmons, 520

  U.S. at 363, is instructive. There, the Court considered a Minnesota rule that forbade

  candidates from appearing on the ballot as the candidates of more than one party,

  and held that this restriction was not a severe burden on rights. There, as here,

  candidates can “communicate information about [themselves] to the voters,” and so

  long as voters can “vote for their preferred candidate.” Id. But unlike in Timmons,

  no candidate is restricted from the ability to communicate their association to voters

  as a result of New Jersey’s bracketing law. Therefore, this case poses an even lesser

  burden on rights.

        Because the bracketing statutes do not impose a severe restriction on

  constitutional rights, the court examines whether “legitimate interests asserted by

  the State are sufficient to outweigh the limited burden.” Burdick, 504 U.S. at 440.


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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 31 of 38 PageID: 597




  When the State advances “important regulatory interests,” that is “generally

  sufficient to justify” restrictions on rights. Id. at 434 (quoting Anderson, 460 U.S.

  at 788).6 “The State’s interest in preserving the integrity of the electoral process is

  undoubtedly important.” Doe v. Reed, 561 U.S. 186, 197 (2010); see also Smith v.

  Penta, 405 A.2d 350, 353 (N.J. 1979). Thus, the State has an interest in parties

  avoiding “primary election outcomes which will confuse or mislead the general

  electorate to the extent it relies on party labels as representative of certain ideologies;

  and preventing fraudulent and deceptive conduct which mars the nominating

  process.” Id.; see also Nader v. Schaffer, 417 F. Supp. 837, 844 (D. Conn.), aff’d,

  429 U.S. 989 (1976). Here, the Legislature could find that New Jersey’s bracketing

  statutes protect important governmental interests, such as preserving candidates’

  rights to associate or not to associate, making those associative characteristics of

  candidates known to voters, providing a manageable and understandable ballot, and

  ensuring an orderly election process.7 These interests outweigh any burden on the

  First Amendment rights, which, as discussed above, are either nonexistent or limited.

  A Legislature can legitimately conclude that the electoral process is best promoted

  by allowing candidates to file a joint petition with the county clerk to bracket their




  6
    Courts have referred to the weighing evaluation from Anderson and Burdick as an “intermediate
  level of scrutiny.” Donatelli v. Mitchell, 2 F.3d 508, 515 (3d Cir. 1993).
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      In fact, based on the following analysis, the statutes would also survive strict scrutiny.
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 32 of 38 PageID: 598




  names together with a common designation of slogan, by allowing bracketed

  candidates to be randomly drawn for ballot position apart from candidates who are

  not bracketed, or by initiating the drawing process with candidates for statewide

  office (that is, U.S. Senate or New Jersey Governor).

        First, New Jersey courts have long upheld the rights of candidates to bracket

  and appear together on the ballot based on the governmental interests that are served.

  In Lesniak v. Budzash, 626 A.2d 1073, 1080 (1993), the New Jersey Supreme Court

  stated that “[o]ne way political parties advance shared beliefs is by selecting

  candidates representing those shared beliefs to run in the general election.” This

  principle applies with equal force to the right of candidates to bracket and associate

  with one another on a primary election ballot “in pursuit of shared political ideals.”

  Id. The bracketing statutes on their face provide that designations and ballot

  bracketing may be used to evidence a particular issue and that “the common

  designation to be named by them shall be printed opposite their names.” N.J. Stat.

  Ann. §19:23-18; see also N.J. Stat. Ann. §19:49-2. Because bracketing allows

  candidates to communicate associational qualities such as similarity of political and

  ideological beliefs to voters that may aid them in making decisions, some courts

  have even found that it promotes “an intelligible ballot,” Gillen v. Sheil, 416 A.2d

  935, 936-38 (N.J. Super. Ct. Law Div., 1980), reasoning that “[v]oters have an




                                           26
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 33 of 38 PageID: 599




  important interest in finding candidates of similar persuasion grouped together rather

  than being spread upon the ballot in random fashion..” Id. at 939.

         Second, New Jersey courts have also evaluated the ballot positioning rules to

  conclude that “there can be no rights violation where a county clerk makes a fair

  effort to follow the dictate that all candidates for the highest office, i.e., U.S. Senator

  or Governor, be treated equally to the extent physical constraints allow, as long as,

  at the same time, a good faith effort is made to effect the expressive rights of all

  candidates.” Schundler v. Donovan, 872 A.2d 1092, 1099 (2005). The state has

  “the power . . . to regulate elections to ‘ensure orderly, rather than chaotic, operation

  of the democratic process.’” New Jersey Conservative Party, Inc. v. Farmer, 753

  A.2d 192, 197 (N.J. Super. Ct. Ch. Div. 1999) (quoting Storer v. Brown, 415 U.S.

  724, 730 (1974)). That includes “the State’s interest in organizing a comprehensible

  and manageable ballot. A manageable ballot is one where the parties, offices and

  candidates are presented in a logical and orderly arrangement.” New Alliance Party

  v. New York State Bd. of Elections, 861 F. Supp. 282, 296 (S.D.N.Y. 1994); see also

  New Jersey Conservative Party, 753 A.2d at 198 (quoting New Alliance Party).

  Here, the Legislature has determined that an orderly way to ensure a comprehensible

  ballot is to allow the county clerk to do an initial draw—at random—of candidates

  for statewide positions and their brackets. The “clerk has the responsibility to deal

  with petitions for the elections and to set up the ballot arrangements and array,” and


                                              27
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 34 of 38 PageID: 600




  “[u]nless specifically directed by statute as to a procedure, the clerk has discretion

  in carrying out this responsibility.” Schundler, 872 A.2d at 1099.

        While Plaintiffs prefer a different ballot design, those are merely Plaintiffs’

  own policy preferences. The role of the court is not to second guess the decisions of

  the Legislature. This is especially important because Plaintiffs’ theories about what

  led to a candidate’s success or lack thereof often depend on numerous, sometimes

  unquantifiable, factors. In Clough v. Guzzi, 416 F. Supp. 1057 (D. Mass. 1976), for

  example, the court rejected a challenge to the Massachusetts practice of according

  incumbent candidates the first position on the ballot for primaries. Id. at 1062. The

  court held that because the ballot allows “non-incumbents and their supporters [to]

  have access” to voters, “even assuming some positional advantage here, the voters’

  right to choose their representatives is not sufficiently infringed as to warrant strict

  scrutiny of the Massachusetts statute and underlying legislative purpose.” Id. The

  court held that the Massachusetts statutes to be constitutionally permissible under

  the equal protection clause of the Fourteenth Amendment. Id. at 1068. See also

  New Jersey Conservative Party, 753 A.2d at 198. The court should similarly reject

  any invitation to wade into doing the Legislature’s work here.

        In conclusion, the bracketing statutes set forth at N.J. Stat. Ann. §19:23-18

  and §19:49-2 serve the State’s interests in ensuring that voters understand

  candidates’ associational preferences, providing a manageable and understandable


                                            28
Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 35 of 38 PageID: 601




  ballot, and ensuring an orderly election process. These interests outweigh any

  asserted infringement on Plaintiffs’ rights, which is nonexistent or limited. Eligible

  voters are no less able to vote for their preferred candidates and candidates have the

  ability to express their preference to associate, or not associate, with other

  candidates.    Plaintiffs’ First Amended Complaint should be dismissed with

  prejudice.

                B. New Jersey’s Bracketing Statutes Do Not Violate
                   the Equal Protection Clause.

        In this case, the bracketing laws are constitutionally nondiscriminatory: they

  are neutral on their face and apply equally to all candidates. The statutes allow all

  candidates seeking a political party’s nomination for a specific office to be placed

  on the same line or column. In other words, candidates are able to run and eligible

  voters can vote for them. The bracketing law simply affects how those candidates

  who choose to associate with each other in a bracket will be presented on a ballot—

  a choice that is presented under the law to every candidate. Therefore, Plaintiffs do

  not make out any colorable equal protection claim.

        And in any event, any claim for equal protection can only be subject to rational

  basis review, given that Plaintiffs allege no suspect classification or abridgement of

  fundamental rights. “Rational basis review . . . is met if there is any reasonably

  conceivable state of facts that could provide a rational basis for the differing



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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 36 of 38 PageID: 602




  treatment.” Newark Cab Ass’n v. City of Newark, 901 F.3d 146, 156 (3d Cir. 2018).8

  Plaintiffs cannot overcome that standard for the reasons stated above, as the State

  not only has a rational basis for its bracketing statutes—it has a compelling one.

  Because “rational-basis review under the Equal Protection Clause is not a license for

  courts to judge the wisdom, fairness, or logic of legislative choices,” but rather

  “accord[s] a strong presumption of validity” to the statute, Donatelli v. Mitchell, 2

  F.3d 508, 515 (3d Cir. 1993), Plaintiffs’ equal protection claim must be rejected.

                  C.      The Bracketing Statutes Do Not Alter the Times,
                          Places or Manner of Congressional Elections.

          Plaintiffs’ allegations that the bracketing statutes violate the Constitution’s

  Elections Clause should also be dismissed. The Elections Clause is limited in scope:

  “[t]he Times, Places and Manner of holding Elections for Senators and

  Representatives, shall be prescribed in each State by the Legislature thereof; but the

  Congress may at any time by Law make or alter such Regulations, except as to the

  Places of chusing [sic] Senators.” U.S. Const., art. 1, sec. 4, cl. 1. Nothing in the

  State’s bracketing statutes impermissibly alters or adds to the times, places and

  manner of holding elections for U.S. Senate or House of Representatives.




  8
    To the extent that Plaintiffs’ theory is that they are treated differently in ballot positioning because
  of their decision to not exercise their right to associate with other candidates via bracketing, or
  because of other candidates’ decision to exercise their right to associate, that claim is subsumed in
  the First Amendment discussion above.
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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 37 of 38 PageID: 603




        “[T]he Constitution grants to the States a broad power to prescribe the ‘Times,

  Places and Manner of holding Elections for Senators and Representatives,’ Art. I, §

  4, cl. 1, which power is matched by state control over the election process for state

  offices.” Tashjian v. Republican Party of Connecticut U.S. 208, 217 (1986). As

  such, States can “enact[] comprehensive and sometimes complex election codes” to

  ensure free and fair elections. Anderson, 460 U.S. at 788; see also Timmons, 520

  U.S. at 358 (“States may, and inevitably must, enact reasonable regulations of

  parties, elections, and ballots to reduce election- and campaign-related disorder.”).

        Plaintiffs acknowledge that the bracketing statute in no way regulates the time

  or place of elections. ECF No. 33 ¶¶ 213, 214. They only claim that New Jersey’s

  bracketing laws “exceed State authority to regulate the manner of congressional

  elections under the Elections Clause.” Id. ¶ 220. But as discussed above, the

  bracketing statutes fall well within the State’s Constitutionally-delegated authority

  because they advance the Legislature’s chosen method for administering free and

  fair elections. Contrary to Plaintiffs’ assertion, however, they do not “dictate[]” any

  electoral outcome. See ECF No. 33 ¶ 216. Instead, they leave it solely to the

  discretion of each candidate whether they wish to associate with any other candidates

  on the primary election ballot, or not. The bracketing statutes create no prohibition

  from any candidate appearing on the primary election ballot on the same line or

  column as all other candidates running for the House of Representatives. And they


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Case 3:20-cv-08267-ZNQ-TJB Document 53-1 Filed 03/29/21 Page 38 of 38 PageID: 604




  certainly do not impact the ability of any voter to cast their ballot for any candidate

  on the primary ballot. Moreover, the New Jersey Legislature has left it entirely up

  to each individual candidate as to the slogan, if any, they wish to use on the primary

  ballot, subject to the restrictions set forth at N.J. Stat. Ann. §19:23-17 and-25.1.

        Therefore, the allegations that the bracket statutes violate the Elections

  Clause, as set forth in Count Four of the First Amended Complaint, should be

  dismissed.

                                     CONCLUSION

        For all of the foregoing reasons, the Attorney General’s motion should be

  granted, and Plaintiffs’ First Amended Complaint should be dismissed.

                                   Respectfully submitted,

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                                            32
